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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

                                                 §
TEXAS, et al.,                                   §
                                                 §
        Plaintiffs,                              §
                                                 §
v.                                               §          Civil Action No. 4:18-cv-00167-O
                                                 §
UNITED STATES OF AMERICA, et                     §
al.,                                             §
                                                 §
        Defendants.                              §
                                                 §

                                              ORDER

        Before the Court is the Parties’ Joint Motion for Entry of Briefing Schedule and to Extend

Time and Page Limits (ECF No. 26), filed April 23, 2018. Having considered the motion, the Court

finds that it should be and is hereby GRANTED in part.

        It is ORDERED that the following schedule shall govern the briefing in this case up until

a scheduling order by this Court expressly supersedes it:

        1. Plaintiffs’ motion for a preliminary injunction shall be filed by April 26, 2018;

        2. Defendants’ response to Plaintiffs’ preliminary injunction motion and response to the

amended complaint shall be filed by June 7, 2018;

        3. Plaintiffs’ reply in support of their motion for preliminary injunction motion and

opposition to any motion Defendants file in response to the amended complaint shall be filed by July

9, 2018;

        4. Any reply by Defendants in support of any motion filed in response to the amended

complaint shall be filed by July 27, 2018.
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       It is FURTHER ORDERED that Plaintiffs may file a fifty (50) page brief in support of

their motion for a preliminary injunction, and that Defendants may file a responsive brief of fifty

(50) pages.

       SO ORDERED on this 24th day of April, 2018.




                                        _____________________________________
                                        Reed O’Connor
                                        UNITED STATES DISTRICT JUDGE




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